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                         EXHIBIT D
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                                      3RD DIST. COURT - WEST JORDAN
                                   SALT LAKE, STATE OF UTAH
                            STATE OF UTAH vs. CHAT\ryIN' JOSHUA SCOTI'
 CASE NUMBER IOI4OI5 l7-StateFelonv

 CURRENT ASSIGNED JUDGE: L DOUGLAS HOGAN

 Parties
 Relationshio        Pmtv                                                   Renresented Bv
 Plaintiff           STATE OF UTAH                                          MANDY L ROSE
 Defendant           JOSHUA SCOTT CHATWIN                                   JOHN K JOFINSON

 ch
                     Offense                                                                 Offense I)ate
 Charge I            76-5-102.8 - DISARMING A PEACE OFFICER lst Degree                       May I 8, 2010
                     Felony (amended) to lst Degree Felony
                         Disposition: April 28,201I Dismissed (w/o prei)
 Charge2             76-5-102.5 - ASSAULT BY PRISONER 3rd Degree Felony                      May 18, 2010
                        Disoosition: Aoril 28.201I Dismissed (w/o prei)
 Charge 3            4I-6A-502 - DRIVING UNDER THE INFLUENCE OF                              May 18, 2010
                     ALC/DRUGS Class B Misdemeanor
                         Plea:         April 28, 201 I Guilty
                         Disnosition: Aoril 28. 201 I Guiltv
 Charge 4            76-8-305 - INTERFERING W/ LEGAL ARREST Class B                          May I 8, 2010
                     Misdemeanor
                        Disposition: April 28, 201 I Dismissed (w/o prei)
 Charge 5            s3-3-221(3)(A) - DRIVE ON SUSP/REVOCATION/DEN At.C May I 8, 2010
                     RELATED Class B Misdemeanor
                        Dispositionl April 28.                I I Dismissed lwlo nrei)
 Charge 6            4l-64-530 - DRIVING ON ALCOHOL RESTRICTIONS Class May I 8, 2010
                     B Misdemeanor
                        Disnosition: Aoril 28.2011 Dismissed (w/o prei)
 ChargeT             4I-6A-518.2(3) - INTERLOCK RESTRICTED DRIVER                            May 1 8, 201 0
                     OPERATING VEHICLE W/O IL SYSTEM Class B
                     Misdemeanor
                        Plea:                 April 28, 201 I Guilfy
                        Disoosition: Aoril 28.201I Guiltv

 Date                       Event
 January 01, 1900           BO/ARR
                            set on 03/ I 7/20 I I
 .lulv 07.2010              Case filed
 Julv 07. 2010
 Julv 07. 2010              WARRANT for Case l0l40l 5 l7 ID I 3093747
 Julv 07.2010               Warrant Ordered
 Julv 07.2010               Warrant Issued
 Julv 09.2010               INITIAL APPEARANCE set on 0711212010
 Julv 09.2010               Warrant Recalled
 .Iulv 12. 201 0            ROLL CALL                           t26120t0
 Julv 12. 2010              M                       A
 Julv I 5. 2010             Filed:              to Re    st
 .lulv I 5. 2010            Filed: Request for discovery
 July I 5, 201 0            Filed: A ppearance of counsel, entry of not guilty plea, reqltest for new Roll Call date
                            iurv tria ldemand
 .Iulv I .5. 201 0          ROLL CALL resched:
 Julv 29. 2010              PRELIMINARY HEARING set on 09/07/2010
 r0t40I5t7                                              Pagc I of 3                                      12-22-2016 03:09 PM
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 Julv 29. 201 0                         for Roll Call
 Ausust 02.2010         Filed:                   to
 Sentemher 07.201'0     PRELIMINARY                     tv04l20l0
 Seotember 07. 201 0    Minutes lor Preliminary Hearing
 October 27 .2010                    RY HEARING resched
 October 27.2010                 CE for Case l0l40l 5 I 7 ID I                I

 Octo,ber 28,2010       Filed: Motion to
 .Ianuarv 07 . 201]r    Filed                                        NCE
 January 07. 201 I               STIPULATED MOTION TO CONTINUE
 January 0l.20ll        PRELIMINARY HEARING set on 0210812011
 Februarv 08. 201 I     Minutes for Prel
 Februarv 09. 201 I     F                    L
 Februarv 24.2011                           motion to dismiss count I                   flr
 March 17. 20 I I       LAW &
 March l7.20ll          BO/ARR
 March l7.20ll                                                     se| on 041281201 I
 Aoril 28. 201 I        Information amended
 April28.20l I                     I amended to lst
 Anril 28.201I                     I                     I   Dismissed
 Aoril28.20ll                                         on is Dismissed
 April 28. 201 I                   -l         osition is Gui
 April 28. 201 I                  4                   on is Dis
 Anril 28. 201 I                   5

 April 28. 201 I        Charse 6 Disposition is Dismissed
 April28.20ll           Char       7                     is Gui
 April28.20ll           Minutes for                    of Plea
 Aoril 28.2011          SENT/SLCP set on 06121l20l I
 April28.20ll           Filed: Statement of Defendant enterins a euiltv plea
 April 28, 201 I        Filed: Amended Information.
 June 14.201 I          'F¡t*t' PRIVATE **** Filed: Pre Sentence Investigation ìlcport
 June 21.201 I          Fine Account created
 June 2 l, 201 I        Minutes for SENTENCE. ruDGMENT . COMMITME
 .Iune 21.201 I         Filed: Judement and Commitment
 Julv 08. 201 I         Filed: CJS/Stay Report: Ordered & Approved Scram to be worn for 90 days.
 Ausust 3l.20ll         Fee Account created
 Ausust 3 l. 201 I      Fine Pavment
 September 06, 201 I    Filed: CJS/Stay Report: Update for the Court. Deft is in con.rpliance with terms of
                        probation also'comþleted 90 AA mtgs in 90 days. Has con.rpleted l2 hours of c/s and
                        also attending substance abuse treatment thru Valley Mental Health.
 September 07 . 201I    Filed : Prob Proeress/Violation Rep: Approved & Ordercd : Ackn owledged.
 Septe mber 28,2011     Fine Pavment
 December 27 , 201ll    Filed: SLCO Criminal Justice Service Stay Report (Applovcd and Ordered 5,000.00 BW

 December 27 ,2011      Filed: Affidavit in Suooort of Order to Show Cause
 December 27,201 I      Filed: Order to Show Cause
 December 2'7 - 201],   o                   CAUSE SLCP on 0ll17l20l2
 December 29,2011       Filed: SLCO Criminal Justice Services Stay Report (Approved and Ordered SLCO to
                        Prepare Affidavit/OSC
 Januarv 17.2012        Filed
 January 18,2012        Post Sentencins
 March 27,2012          Filed: Salt Lake Counly Criminal Justice Services Stay Iìcport (Approved and Ordered
                        No Action)
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                                                                                              Xchangc Shorl Casc History
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 Mav 25-2012           Fee A
 Mav 25.2012                         created
 Mav 25.2012           Fee Pavment
 Mav 29.2012           Filed: Request for Recording - John K Johnson
 Julv I 0. 201 2       Judsment Entered - Amount 5820.47
 Ausust 2l.2012        WALK IN HEARING set on 09/10/2012
 Ausust 22.2012        Filed: Communiw Service Paperwork
 Ausust 29-2012        WALK IN HEARING Cancelled
 Ausust 29.2012        WALK IN HEARING seton09llll20l2
 Ausust 29,2012        NOTICE for Case 101401 5 17 lD 14726486
 September | 1,2012    Minutes for REVIEW HEARINC
 Sentember ll.2012     Case Closed
 Seotember 12-2012     Filed: Case Closed.


 Account
 REVENUE DETAIL. TYPE: FINE                        Amount Due: $                200.00
                                                   Amount Paid: $               200.00
                                                   Amount Credit: $                000
                                                                                            Balance               * $ 0.00
 REVENUE DETAIL - TYPE: INTEREST                   Amount Due:        S            0.00
                                                   Amount Paid:       S            000
                                                   Amount Credit: S                0.00
                                                                                            Bala nce;             * $ 0.00
 REVENUE DETAIL - TYPE: AUDIO TAPE COPY Amount Due:                   $           t0 00
                                                   Amount Paid:       $           l0 00
                                                   Amount Credit: $                000
                                                                                            Balance:              * $ 0.00
 REVENUE DETAIL - TYPE: POSTAGE-COPIES             Amount Due: $                   2.41
                                                   Amount Paid: $                  2.47
                                                   Amount Credit: $                000
                                                                                            Balance:              * $ 0.00

 Account Adiustments
 I)ate
 Julv I 0- 201 2                         -* $ 800.00 Adiusted to zero and set to State Debt Collection
 Julv I 0. 201 2                               * s 20.47 Criminal oost iudsrrent intcrest
 Julv I 0. 201 2                           -* $ 20.41 Adiusted to zero and set to State Debt Collection




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                                                                                               Xchangc Short Casc History
